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                                                       U.S. Department of Justice

                                                       Andrew E. Lelling
                                                       United States Attorney
                                                       District ofMassachusetts


Main Reception: (617) 748-3100                         John Joseph Moakley United States Courthouse
                                                       I Courthouse (Vay
                                                       Suite 9200
                                                       Boston. Massachusetts 02210




                                                       December 27, 2018




Jamiel Allen, Esq.
Federal Public Defender Office
51 Sleeper Street
Boston, MA 02210


          Re:       United States v. Albert Taderera
                    Criminal No. 17-cr-10158-FDS


Dear Mr. Allen:


        The United States Attorney for the District of Massachusetts ("the U.S. Attorney") and
your client, Albert Taderera ("Defendant"), agree as follows with respect to the above-referenced
case:



          1.        Change of Plea


       At the earliest practicable date, but in no event later than January^o, 2019, Defendant shall
plead guilty to the following count of the above-referenced Superseding Indictment: Count One
charging Armed Bank Robbery, in violation of Title 18, United States Code, Sections 2113(a) and
(d). Defendant expressly and unequivocally admits that he committed the crime charged in Count
One of the Superseding Indictment, did so knowingly, and is in fact guilty of that offense.

        The U.S. Attorney agrees to dismiss Count Two of the Superseding Indictment following
the imposition of sentence at the sentencing hearing.
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       2.      Penalties


        Defendant faces the following maximum penalties on Count One of the Superseding
Indictment: incarceration for 25 years; supervised release for 5 years; a fine of $250,000, or twice
the gross gain/loss, whichever is greater; a mandatory special assessment of $100; restitution; and
forfeiture to the extent charged in the Superseding Indictment.

        Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant's immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offenses to which Defendant is
pleading guilty. Indeed, because Defendant is pleading guilty to Armed Bank Robbery, removal
is presumptively mandatory. Removal and other immigration consequences are the subject of a
separate proceeding, however, and Defendant understands that no one, including defense counsel
and the District Court, can predict to a certainty the effect of this conviction on Defendant's
immigration status. Defendant nevertheless affirms his decision to plead guilty regardless of any
immigration consequences that this plea may entail, even if the consequence is Defendant's
automatic removal from the United States.


       3.      Fed. R. Crim. P. 1 Uc¥l¥C^ Plea


        This Plea Agreement is made pursuant to Fed. R. Crim. P. 11(c)(1)(C), and Defendant's
guilty plea will be tendered pursuant to that provision. In accordance with Rule 11(c)(l )(C), if the
District Court ("Court") accepts this Plea Agreement, the Court must include the agreed
disposition in the judgment. If the Court rejects any aspect of this Plea Agreement, the U.S.
Attorney may deem the Plea Agreement null and void. Defendant understands and acknowledges
that he may not withdraw his plea of guilty unless the Court rejects this Plea Agreement under
Fed. R. Crim. P. 11(c)(5).

       4.      Sentencing Guidelines

        The parties agree jointly to take the following positions at sentencing under the United
States Sentencing Guidelines ("USSG" or "Guidelines"). The parties agree that Defendant's total
adjusted offense level under the Guidelines is calculated as follows:

               •   in accordance with USSG § 2B3.1(a), Defendant's base offense level is 20;

               •   in accordance with USSG § 2B3.1 (b)( 1), Defendant's offense level is increased
                   by two levels, because Defendant took property of a financial institution;

               •   in accordance with USSG § 2B3.1(b)(2)(E), Defendant's offense level is
                   increased by three levels, because Defendant brandished or possessed a
                   dangerous weapon; and
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               •      in accordance with USSG § 3E1.1, based on Defendant's prompt acceptance of
                      personal responsibility for the offenses of conviction in this case, the adjusted
                      offense level is reduced by three.

The U.S. Attorney's agreement that the disposition set forth below is appropriate in this case is
based, in part, on Defendant's prompt acceptance of personal responsibility for the offense of
conviction in this case.


      The U.S. Attorney may, at his sole option, be released from his commitments xmder this
Plea Agreement, including, but not limited to, his agreement that Paragraph 5 constitutes the
appropriate disposition of this case, if at any time between Defendant's execution of this Plea
Agreement and sentencing. Defendant:

               (a)       Fails to admit a complete factual basis for the plea;

               (b)       Fails to truthfully admit Defendant's conduct in the offense(s) of
                         conviction;

               (c)       Falsely denies, or frivolously contests, relevant conduct for which
                         Defendant is accountable under USSG § IB 1.3;

               (d)       Fails to provide truthful information about Defendant's financial status;

               (e)       Gives false or misleading testimony in any proceeding relating to the
                         criminal conduct charged in this case and any relevant conduct for which
                         Defendant is accountable under USSG § IB 1.3;

                (f)       Engages in acts that form a basis for finding that Defendant has obstructed
                          or impeded the administration ofjustice under USSG § 3C1.1;

                (g)       Intentionally fails to appear in Court or violates any condition of release;

                (h)       Commits a crime;

                (i)       Transfers any asset protected under any provision of this Plea Agreement;
                          or



                (j)        Attempts to withdraw Defendant's guilty plea.

        Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.
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       5.       Agreed Disposition

       Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the U.S. Attorney and Defendant agree that the
following is a reasonable and appropriate disposition of this case:

                (a)    incarceration within the range of 24 to 36 months;

                (b)    36 months of supervised release;

                (c)    a mandatory special assessment of $100, which Defendant must pay to the
                       Clerk of the Court on or before the date of sentencing (unless Defendant
                       establishes to the Court's satisfaction that Defendant is unable to do so);

                (d)    restitution of $ 11,561.

       Within the sentencing range agreed to by the parties, the sentence to be imposed upon
Defendant is within the discretion of the Court, subject to the provisions of the advisory USSG
and the factors set forth in 18 U.S.C. § 3553(a).

       6.       Waiver of Right to Appeal and to Bring Future Challenge

       (a) Defendant has conferred with his attorney and understands that he has the right to
challenge his conviction in the United States Court of Appeals for the First Circuit ("direct
appeal"). Defendant also understands that, in some circumstances. Defendant may be able to
challenge his conviction in a future proceeding (collateral or otherwise), such as pursuant to a
motion under 28 U.S.C. § 2255 or 28 U.S.C. § 2241. Defendant waives any right to challenge
Defendant's conviction on direct appeal or in any future proceeding (collateral or otherwise).

        (b)     Defendant has conferred with his attorney and understands that defendants
ordinarily have a right to challenge in a directappealtheir sentences (including any orders relating
to the terms and conditions of supervised release, fines, forfeiture, and restitution) and may
sometimes challenge their sentences (including any orders relating to the terms and conditions of
supervised release, fines, forfeiture, and restitution) in a future proceeding (collateral or
otherwise). The rights that are ordinarily available to a defendant are limited when a defendant
enters into a Rule 11(c)(1)(C) agreement. In this case. Defendantwaives any rights Defendant may
have to challenge the agreed-upon sentence (including any agreement relating to the terms and
conditions of supervised release, fines, forfeiture, and restitution) on direct appeal and in a future
proceeding (collateral or otherwise), such as pursuant to 28 U.S.C. § 2255 and 28 U.S.C. § 2241.
Defendant also waives any right Defendant may have under 18 U.S.C. § 3582 to ask the Court to
modify the sentence, even if the USSG are later amended in a way that appears favorable to
Defendant. Likewise, Defendant agrees not to seek to be resentenced with the benefit of any
change to Defendant's Criminal History Category that existed at the time of Defendant's original
sentencing. Defendant also agrees not to challenge the sentence in an appeal or future proceeding
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(collateral or otherwise) even if the Court rejects one or more positions advocated by any party at
sentencing. In sum, Defendant understands and agrees that in entering into this Plea Agreement,
the parties intend that Defendant will receive the benefits of the Plea Agreement and that the
sentence will be final.


       (c)     The U.S. Attorney agrees that he will not appeal the imposition by the Court of a
sentence within the sentencing range agreed to by the parties as set out in Paragraph 5, even if the
Court rejects one or more positions advocated by either party at sentencing.

        (d)   Regardless of the previous subparagraphs. Defendant reserves the right to claim
that: (i) Defendant's lawyer rendered ineffective assistance of counsel under Strickland v.
Washington', or (ii) the prosecutor in this case engaged in misconduct that entitles Defendant to
relief from Defendant's conviction or sentence.


        7.      Forfeiture


        Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or otherpersonal property seizedby the United States, or seizedby any stateor locallaw
enforcement agencyand turned over to the UnitedStates, duringthe investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

        8.      Civil Liabilitv

         By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability. Defendant may have incurred or may incur
as a result of Defendant's conduct and plea of guilty to the charges specified in Paragraph 1 of this
Plea Agreement.

        9.      Withdrawal of Plea bv Defendant or Rejection of Plea bv Court

        Should Defendant move to withdraw his guilty plea at any time, or should the Court reject
the parties' agreed-upon disposition of the case or any other aspect of this Plea Agreement, this
PleaAgreement shall be null andvoid at the option of the U.S. Attorney. In this event. Defendant
agrees to waive any defenses based upon the statute of limitations, the constitutional protection
against pre-indictment delay, and the Speedy Trial Act with respect to any and all charges that
could have been timely brought or pursued as of the date of this Plea Agreement.

        10.     Breach of Plea Agreement

        If the U.S. Attorney determines that Defendant has failed to complywith any provision of
this PleaAgreement, has engaged in anyof the activities set forth in Paragraph 4(a)-(j), hasviolated
any condition of Defendant's pretrial release, or has committed any crime following Defendant's
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execution of this Plea Agreement, the U.S. Attorney may, at his sole option, be released from his
commitments under this Plea Agreement in their entirety by notifying Defendant, through counsel
or otherwise, in writing. The U.S. Attorney may also pursue all remedies available to him under
the law, regardless whether he elects to be released from his commitments under this Plea
Agreement. Further, the U.S. Attorney may pursue any and all charges which otherwise may have
been brought against Defendant and/or have been, or are to be, dismissed pursuant to this Plea
Agreement. Defendant recognizes that his breach of any obligation under this Plea Agreement
shall not give rise to grounds for withdrawal of Defendant's guilty plea, but will give the U.S.
Attorney the right to use against Defendant before any grand jury, at any trial or hearing, or for
sentencing purposes, any statements made by Defendant and any information, materials,
documents or objects provided by Defendant to the government, without any limitation, regardless
of any prior agreements or understandings, written or oral, to the contrary. In this regard.
Defendant hereby waives any defense to any charges that Defendant might otherwise have based
upon any statute of limitations, the constitutional protection against pre-indictment delay, or the
Speedy Trial Act.

       11.     Who is Bound bv Plea Agreement


        This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities.

        12.    Modifications to Plea Agreement


       This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Kenneth G. Shine.

                                                     Very truly yours,

                                                     ANDREW E. LELLING
                                                     United States Attorney

                                               By:
                                                     Lori^vjJ^ik
                                                     Chief, Major Crimes Unit


                                                     Kenneth G. Shine
                                                     Assistant U.S. Attorney
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                        ACKNOWLEDGMENT OF PLEA AGREEMENT


       I have read this letter in its entirety and discussed it with my attorney. I hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attorney's
Office for the District of Massachusetts; (b) there are no unwritten agreements between me and
the United States Attorney's Office; and (c) no official ofthe United States has made any unwritten
promises or representations to me, in connection with my change of plea. In addition, I have
received no prior offers to resolve this case. I understand the crimes to which I have agreed to
plead guilty, the maximum penalties for those offenses, and the Sentencing Guideline penalties
potentially applicable to them. I am satisfied with the legal representation provided to me by my
attorney. We have had sufficient time to meet and discuss my case. We have discussed the charges
against me, possible defenses I might have, the terms of this Plea Agreement and whether I should
go to trial. I am entering into this Plea Agreement freely, voluntarily, and knowingly because I
am guilty of the offense to which I am pleading guilty and I believe this Plea Agreement is in my
best interest.




                                                     Albert Tader
                                                     Defendant


                                                     Date:




        I certify that Albert Taderera has read this Plea Agreement and that we have discussed its
meaning. I believe he understands the Plea Agreement and is entering into the Plea Agreement
freely, voluntarily and knowingly. I also certify that the U.S. Attorney has not extended any other
offers to resolve this matter.




                                                      imiel Allen
                                                     Attorney for Defendant

                                                     Date:     I - 2-/f
